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      MONGOL NATION
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16                          UNITED STATES DISTRICT COURT
17
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
18

19

20   UNITED STATES OF AMERICA,                )    Case No.: CR 13-106(A)-DOC
21
                                               )
                                              )
22         Plaintiff,                         )    MONGOL NATION CONCURS
23                                            )    WITH UNITED STATES’ EX
               v.                             )    PARTE APPLICATION TO
24
                                              )    RECONSIDER 8/22/22 ORDER
25   MONGOL NATION,                           )    AND FOR ENTRY OF A
                                              )    PROTECTIVE ORDER
26
          Defendant.                          )
27

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                           CONCURRENCE WITH UNITED STATES’ EX PARTE
     Case 2:13-cr-00106-DOC Document 582 Filed 08/22/22 Page 2 of 2 Page ID #:9441



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           Defendant, Mongol Nation, by and through its counsel of record, hereby

3    concurs with Plaintiff’s, United States of America, ex parte application (Docket
4
     580) for a Proposed Order for the parties to be bound by the identical terms set
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6    forth in the Protective Order entered in the Landa-Rodriquez case on June 8, 2018
7
     (CR 582).
8

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10   Dated: August 22, 2022                       Respectfully submitted,
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                                                  Yanny & Smith
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16
                                                  /s/ Andrea X. Ales________
                                                  Andrea X. Ales, Esq.
17                                                Attorneys for Defendant
18                                                MONGOL NATION
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                          CONCURRENCE WITH UNITED STATES’ EX PARTE
